         Case 1:15-cv-00670-JB-KK Document 99 Filed 12/28/16 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO

WAYNE RUTHERFORD,

        Plaintiff,

vs.                                                                     No. CIV 15-0670 JB/KK

THEODORE PUTNAM; CTL
THOMPSON, INC.; CENTRAL MUTUAL
INSURANCE COMPANY; STATE FARM
MUTUAL AUTOMOBILE INSURANCE
COMPANY; AGNES YAZZIE and
MICHAEL JOSEPH,

        Defendants.

                                        FINAL JUDGMENT

        THIS MATTER comes before the Court on the Stipulated Order Granting Joint Motion

to Dismiss Complaint and All Claims with Prejudice, filed December 27, 2016 (Doc.

98)(“Order”). In the Order, the Court granted the Joint Motion to Dismiss Complaint and all

Claims with Prejudice, filed September 19, 2016 (Doc. 97)(“Motion to Dismiss”), and stated that

the “parties resolved all claims pending in this matter by mutual agreement on November 30,

2016 at a settlement conference . . . .” Order at 1. The Order indicated that “all claims asserted .

. . against each Defendant, and all claims which could have been asserted against any Defendant

arising out of the September 16, 2011 vehicle accident at issue in this lawsuit . . . are dismissed

with prejudice.” Order at 1-2. Because the Order disposes of all claims and parties before the

Court, final judgment is appropriate.

        IT IS ORDERED that: (i) this case is dismissed with prejudice; and (ii) Final Judgment

is entered.
        Case 1:15-cv-00670-JB-KK Document 99 Filed 12/28/16 Page 2 of 2




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                                                     UNITED STATES DISTRICT JUDGE

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                                          -2-
